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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      PANAMA CITY DIVISION



BRUCE ERIC REED,

             Plaintiff,

v.                                                  CASE NO. 5:05cv51-RH/WCS

CAPTAIN JAMES BARNES, et al.,

             Defendants.

_______________________________/


                            ORDER OF DISMISSAL


      This matter is before the court on the magistrate judge’s report and

recommendation (document 10), to which no objections have been filed.

      The report and recommendation concludes that this action should be

dismissed under the doctrine of Heck v. Humphrey, 512 U.S. 477, 487, 114 S. Ct.

2364, 129 L. Ed. 2d 383 (1994). Heck dealt with a civil rights action that, if

successful, would have called into question the validity of a state conviction

already entered. See also Edwards v. Balisok, 520 U.S. 641, 648-49, 117 S. Ct.

1584, 137 L. Ed. 2d 906 (1997) (applying Heck to revocation of gain time already

entered). The report and recommendation concludes that Heck also applies when a
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civil rights action, if successful, would call into question the validity of any

conviction that might be obtained in the future in a criminal case that is pending

but has not yet been resolved. As the report and recommendation correctly notes,

some circuits have so held. In addition, the Eleventh Circuit has said the same

thing, although perhaps in dictum. See Uboh v. Reno, 141 F.3d 1000, 1006 (11th

Cir. 1998) (“[A] civil proceeding challenging the grounds on which the

prosecution against Uboh had been commenced indirectly would implicate the

question of Uboh’s guilt; this type of parallel inquiry by way of a civil suit prior to

the resolution of a criminal action based on the same set of events is precisely the

quandary that Heck prohibits”).

         Accordingly,

         IT IS ORDERED:

         The Report and Recommendation is ACCEPTED and adopted as the opinion

of the court. The complaint is dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B).

The clerk shall enter judgment accordingly, shall enter on the




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docket that the case was dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B), and

shall close the file.

         SO ORDERED this 9th day of May, 2005.

                                            s/Robert L. Hinkle
                                            Chief United States District Judge




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